     Case 2:07-cr-00087-WFN   ECF No. 37   filed 12/12/07   PageID.89 Page 1 of 1




 1
 2
 3
                          UNITED STATES DISTRICT COURT
 4                       EASTERN DISTRICT OF WASHINGTON
 5
      UNITED STATES OF AMERICA,              )
 6                                           )     No. CR-07-087-WFN
                       Plaintiff,            )
 7                                           )     ORDER DENYING DEFENDANT'S
      v.                                     )     MOTION FOR BAIL
 8                                           )     RECONSIDERATION
      FREDERICK MANFRED SIMON,               )
 9                                           )          ---- DIRECTIVE TO ----
                       Defendant.            )               U.S. MARSHAL
10                                           )

11         At the December 11, 2007, hearing on Defendant's Motion for

12   Bail Reconsideration, Assistant Federal Defender Kimberly A. Deater

13   appeared with Defendant; Assistant U.S. Attorney Thomas J. Hopkins

14   represented the United States.

15         The court, having considered the proffers of Defendant and

16   Plaintiff, finds there is no combination of conditions that can be

17   set to reasonably ensure Defendant is not a risk of non-appearance.

18   The court notes that sentencing in another matter, United States v.

19   Simon, Cause No. CR-07-131-WFN, is set for February 2008.

20         The Defendant’s Motion (Ct. Rec. 34) is DENIED.

21         The U.S. Marshal is directed to house Defendant in Spokane for

22   at least thirty days to assist in preparation for trial in this

23   matter.

24         IT IS SO ORDERED.

25         DATED December 12, 2007.

26
27                            S/ CYNTHIA IMBROGNO
                         UNITED STATES MAGISTRATE JUDGE
28


     ORDER DENYING DEFENDANT'S MOTION FOR BAIL RECONSIDERATION - 1
